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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                                  CRIMINAL ACTION

VERSUS                                                                               NO. 00-368

JOHN ALBERT JONES, JR.                                                          SECTION “K”


                                   ORDER AND REASONS

       Before the Court is petitioner John Jones’ Motion under 28 U.S.C. § 2255 to Vacate, Set

Aside, or Correct Sentence by a Person in Federal Custody (Rec. Doc. No. 112). Petitioner contends

that (1) he was denied effective assistance of counsel and (2) there was insufficient evidence to

sustain a conviction or sentence enhancement. The Court has reviewed the pleadings, memoranda,

and the relevant law and finds that the motion is without merit. Accordingly, the Court DENIES

the motion for the following reasons:

I. Background

       Jones was charged in a superceding bill of information on February 8, 2002 with one count

of managing and making available a residence for the manufacture and distribution of cocaine base

in violation of 21 U.S.C. § 856(a)(2) and one count of being a felon in possession of a firearm in


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violation of 18 U.S.C. §§ 922 (g)(1) and 924 (a)(2). On March 9, 2001 Jones filed a motion to

suppress evidence, specifically the firearm and an inculpatory statement, which this Court denied

on June 13, 2001. Thereafter, on February 19, 2002, Jones pled guilty pursuant to a plea agreement

wherein he waived his right to appeal or seek post-conviction relief under § 2255 unless the court

imposed a punishment in excess of the statutory maximum or departed upwardly from the guideline

range. Under Rule 11(2)(1)(C) of the Federal Rules of Criminal Procedure Jones pled guilty to a

pre-determined sentence of 10 year as to both Counts, affirming his understanding that as to Count

1 he was charged with the “establishment of manufacturing operations”and faced a 20 year

maximum sentence of imprisonment, whereas to Count 2, “possession of a firearm by a convicted

felon” he faced a 10-year maximum sentence. During the re-arraignment hearing, the Court

carefully questioned Lee about his understanding of the consequences of his guilty plea and the

appeal waiver contained in the plea agreement.1 Jones also acknowledged his Rule 11(e)(1)(C)


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        The Court asked Jones:

                      Do you understand that you have waived your right to appeal any
                      sentence that I may impose, if I accept your plea?

       Jones:         Yes, sir.

       The Court:     Including your rights to appeal under 18 U.S.C. § 3742, which
                      provides for a review of a sentence, and under 18 U.S.C. § 2255,
                      which provides for post conviction remedies, if there's a legal and
                      constitutional basis for you to attack the conviction.

                      Because you have waived these rights, you may appeal your
                      conviction and/or sentencing only under the following exceptions:
                      First, you may appeal if I impose a sentence in excess of the
                      statutory maximum. Second, you may appeal if I [impose] a
                      sentence which constitutes an upward departure from the guideline
                      range. Also you may appeal your sentence if you can show that you
                      were deprived of certain constitutional rights, including the

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agreement and its pre-determined 10 year cumulative sentence. Rearraignment Transcript, p. 13-15.

He confirmed he had reviewed the contents of the plea agreement with counsel and he understood

the contents of the factual basis detailing his crimes, which he also signed. Id. at 18-19. Jones also

affirmed that he had consulted counsel and was satisfied with his services. Id.at 4-5.

        At sentencing, Jones objected to both the calculation of the base offense level and the

statement in his Presentence Investigation Report that he was “paid in cocaine base for this and for

‘bringing in customers’ on occasion.” These objections were overruled and the Court sentenced

Jones to a 10 year cumulative sentence on the basis of his Rule 11(e)(1)(c) plea agreement. This

sentence was neither in excess of the statutory maximum nor was it an upward departure from the

sentencing guidelines. Finally, the Court explained that “there is no downward departure when you

have an agreed upon plea, and I’ll recite the case law.” Sentencing Transcript, p. 4. The Court

reiterated that as a result of the plea agreement, Jones had “no right to appeal the sentence I impose

because it neither exceeds the statutory maximum or constitutes an upward departure from the

sentencing guidelines.” Id. at 11. On January 26, 2004 Jones filed the instant motion.

II. Analysis

A. 28 U.S.C. § 2255

       1.       Petitioner’s Waiver of Post-Conviction Relief

       Jones specifically waived his right to post-conviction relief in his plea. As such, the relief

sought should be denied. See United States v. White, 307 F.3d 336 (5th Cir. 2002). As stated in

United States v. Wilkes, 20 F.3d 651 (5th Cir. 1994):



                       effective assistance of counsel. Do you understand that?

       Jones:          “Yes, sir.” Transcript at Rearraignment, p.3.

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       Under United States v. Melancon, 972 F.2d 566, 567 (5th Cir. 1992), a defendant can
       waive his right to appeal as part of a plea agreement if the waiver is informed and
       voluntary. ‘It is up to the district court to insure that the defendant fully understands
       [his] right to appeal and the consequences of waiving that right.’ United States v.
       Baty, 980 F.2d 977, 979 (5th Cir. 1992).

Id. at 653. During Jones’ re-arraignment hearing, the Court specifically questioned him regarding

his waiver of post-conviction relief and found him to be knowing and intelligent as to the

consequences of the waiver contained in his plea. Jones was advised of the rights he was giving up

by pleading guilty and indicated that he understood that he was waiving his right to appeal and to

pursue post conviction relief under 28 U.S.C. § 2255. In his motion Jones does not claim that he is

innocent nor that he received erroneous advice concerning the appeal waiver contained in the plea

agreement. Instead Jones seems to contend that there are numerous grounds of error in the

presentence investigation report which should be corrected and resubmitted to the Court so that he

could be re-sentenced at a lower level of the Guidelines. However as noted earlier, these objections

were previously heard and ruled upon at Jones’ sentencing hearing. See Sentencing Transcript at

p. 2-4. Accordingly, the Court finds that Jones understood the consequences of his plea and finds

no evidence that suggests his plea or his entry into the plea agreement was without knowledge or

involuntary.

       Further, Jones reserved the right of appeal only in the case where the punishment imposed

was in excess of the statutory maximum or if it constituted an upward departure from the guideline

range deemed applicable by Court at sentencing. Jones’ sentence does not meet either of these

exceptions. His sentence of 10 year cumulative sentence as to both counts is below the maximum

possible sentence of 20 years for a violation of 21 U.S.C. § 856(a)(2) and was the maximum penalty

he could have faced for the second count alone of being a felon in possession of a firearm in


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violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(2).

       2. Ineffective Assistance of Counsel

       Jones also has not made a constitutional ineffective assistance of counsel claim that would

survive his waiver. See, e.g., White, 307 F.3d at 343 (holding that ineffective assistance of counsel

claims survive a waiver “only when the claimed assistance directly affected the validity of the

waiver or the plea itself.”). Jones purports to raised issues of constitutional error but he has failed

to make the requisite showing required by the standard set forth in Strickland v. Washington, 466

U.S. 668 (1984). Strickland requires that in order to prevail on an ineffective assistance of counsel

claim, one must show 1) deficient performance by counsel and 2) the deficient performance

prejudiced his defense. Id. If the Court finds a petitioner has failed to make a sufficient showing

as to either prong, the Court may dispose of the claim without addressing the other prong. Id. at 697.

Jones has not provided any evidence to support his contention that counsel was ineffective, and mere

speculation is insufficient. See Barnard v. Collins, 958 F.2d 634, 643 n.11 (5th Cir. 1992). Jones

contends that counsel was ineffective in providing incorrect information to the Court in the

presentence report. But this is factually incorrect. Probation, not the Court, prepared Jones’

presentence report, and Jones’ counsel filed written objections therein, objections that were heard

and overruled by the Court at sentencing. See Sentencing Transcript at p.4-5. Jones was sentenced

pursuant to a Rule 11(e)(1)(C) agreement, whose purpose is a fixed sentence. Jones fails to bring

forward any evidence showing that counsel’s filing of objections and the Court’s overruling of these

objections and eventual sentence in accord with Jones’s own Rule 11(e)(1)(C) agreement were errors

or that these errors prejudiced his defense.    As a result, Jones’ ineffective assistance of counsel

must fail.


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B. PETITIONER’S SUFFICIENCY CHALLENGE

       As stated recently by the United States Court of Appeals for the Fifth Circuit:

      Section 2255 provides the primary means of “collaterally attacking a federal
      sentence,” Tolliver v. Dobre, 211 F.3d 876, 877 (5th Cir. 2000), and is the
      appropriate remedy for “errors that occurred at or prior to the sentencing.” Cox v.
      Warden, Fed. Detention Ctr., 911 F.2d 1111, 1113 (5th Cir. 1990) (internal quotation
      marks and citations omitted). Section 2241, on the other hand, is the proper
      procedural vehicle in which to raise an attack on “the manner in which a sentence is
      executed.” Tolliver, 211 F.3d at 877. A petition filed under § 2241 that attacks
      errors that occurred at trial or sentencing is properly construed as a § 2255 motion.
      Id.
Any challenge by Jones to the sufficiency of the evidence used against him at sentencing may be

raised in a collateral relief proceeding only if he can demonstrate “cause” and “prejudice” or actual

innocence. United States v. Bousley, 523 U.S. 614, 622 (1998); Forrester v. United States, 456 F.2d

905, 907 (5th Cir. 1972). Jones has made no attempt to demonstrate either of these grounds, and in

fact his briefing is practically non-responsive to these issues, written more as if petitioner was

attacking a jury verdict rather than a plea agreement. The Court finds these claims without merit.

       Accordingly,

       IT IS ORDERED that petitioner’s Motion Under 28 U.S.C. § 2255 To Vacate, Set Aside,

or Correct Sentence By A Person In Federal Custody (Rec. Doc. No. 112) is DENIED with

prejudice.

                                              28th day of August, 2006.
               New Orleans, Louisiana, this ________




                                                   STANWOOD R. DUVAL, JR.
                                               UNITED STATES DISTRICT COURT JUDGE




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